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                                       Exhibit B

                                   Carroll Declaration




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                        IN THE UNITED STATES I3AN~RUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                           Chapter 11
In re:
                                                           Case No. 17-10570(BLS)
Bostwick Laboratories, Inc., et al.,i
                                                           (Jointly Administered)
                  Post-Effective Date Debtors.


                  DECLARATION OF JAMES P. CARROLL IN SUPPORT OF
                        ~~~ Y~,~r~ A~~~r~~~~~a~ro~~~ TxT€~~ or,~r~~~u~
              (NON-SUBSTANTIVE)OBJECTION TO CERTAIN(A)AMENDED
               AND SUPERSEDED CLAIMS,AND(B)NO LIABILITY CLAIMS

I, James P. Carroll, pursuant to 28 U.S.C. §1746 declare:

                  I am the Plan Administrator in the above-captioned case.

         2.       I submit this declaration in support of the Plan Administf°ator's Third Omnzbus

(Non-Substantive) Objection to Certain (A)Amended and Superseded Claims and(B) No

Liability Claims (the "Objection").2 F_,xcept as otherwise indicated herein, I have personal

knowledge of the matters and issues set forth. herein or have gained knowledge of such matters

from my review of the relevant documents, or from information provided to me.

                  I have reviewed the Debtors' books and records and determined that each of the

Amended and Superseded Claims listed on Exhibit 1 attached to the Proposed Order do not

represent valid claims because the proof of claim filed under the column "Remaining Claim

Number" supersedes the scheduled or filed claims filed under the column "Scheduled or Filed




~ The Post-Effective Date Debtors are the following-entities (last four digits ofEIN in parentheses): (i) Bostwick    --
Laboratories, Inc., a Delaware corporation (3169); and (ii) Bostwick Laboratories Holdings, Inc., a Delaware
corporation (1042). The current mailing address for the Post-Effective Date Debtors is James P. Can~oll as the Plan
Administrator, c/o Carroll Services LLC,4450 Bonita Beach Road, Suite 9, Bonita Springs, FL 34134.
2 All capitalized terms not defined herein shall have the meanings ascribed to them in the Objection.



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Claim to be Disallowed." Therefore, the Amended and Superseded Claims should be disallowed

and expunged.

        4.      Further, I have reviewed the Debtors' books and records and made reasonable

efforts to research each of the No Liability Claims, including all supporting information and

documentation (if any) provided therewith, listed on Exhibit 2 attached to the Proposed Order.

Upon information and belief, I have determined that the No Liability Claims are not valid claims

~~cause:(i} the estates' ~~~ks and records do not reflect a liability :,r there is a scheduled

liability of zero due and owing by any Debtor with respect to such claims and/or (ii) they are not

are not enforceable against the Debtors or their property under any agreement or applicable law.

        5.      For these reasons, the No Liability Claims listed on Exhibit 2 attached to the

Proposed Order should be should be disallowed and expunged.

        6.      The relief sought in the Objection is without prejudice to the rights of the Debtors

or any other party in interest to further object to any of the remaining claims, on any other

grounds.

        I declare under penalty of perjury under the laws ofthe United States of America that the

foregoing is true and correct.

Date: September 11, 2018
                                                        /s/James P. Ca~Noll
                                                        JAMES P. CARROLL




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